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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,
                                                           CRIMINAL NUMBER:
                 v.
                                                           1:18-cr-00032-2-DLF
CONCORD MANAGEMENT AND
CONSULTING LLC

       Defendant.


         DEFENDANT CONCORD MANAGEMENT AND CONSULTING LLC’S
                      NOTICE OF FILING EXHIBIT

       On September 10, 2019, Defendant Concord Management and Consulting LLC

(“Concord”) filed its reply brief in support of its Motion for a Supplemental Bill of Particulars,

ECF No. 196, but inadvertently omitted Exhibit A referenced therein. Concord attaches hereto

its Exhibit A.



Dated: September 10, 2019                           Respectfully submitted,

                                                    CONCORD MANAGEMENT AND
                                                    CONSULTING LLC

                                                    By Counsel

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